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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

BARRY LEVINE,                                    §
                                                 §
                        Plaintiff,               §
                                                 §
v.                                               §    Civil Action No. 4:20-cv-01128-O
                                                 §
AMERICAN MENSA, LTD., et al.,                    §
                                                 §
                        Defendants.              §

                                             ORDER

          Before the Court is Plaintiff’s Motion for Extension of the Discovery Period and

Provisional Motion for Leave to Take One Deposition in Excess of Ten Depositions (ECF No. 40).

United States District Judge Reed O’Connor granted the Motion for Extension and deferred ruling

on the Provisional Motion for Leave pending Defendants’ forthcoming objection. ECF No. 41.

After Defendant American Mensa, Ltd. filed its Objection (ECF No. 42), Judge O’Connor referred

the Provisional Motion for Leave to the undersigned for determination or recommendation. ECF

No. 43.

          After considering it, Defendant’s Objection, and the applicable legal authorities, the

undersigned determines the Provisional Motion for Leave to Take One Deposition in Excess of

Ten Depositions (ECF No. 40) should be GRANTED. American Mensa alternatively requests an

extension of the dispositive motion deadline (ECF No. 42). If American Mensa wishes to pursue

this request, it should move separately for the extension, as this issue is beyond the scope of Judge

O’Connor’s referral to the undersigned. See ECF No. 43.
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   It is so ORDERED on March 8, 2022.



                                        ______________________________________
                                        Hal R. Ray, Jr.
                                        UNITED STATES MAGISTRATE JUDGE




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